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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YOR,K

UNITED STATES OF AMERICA,


vs.                                                  Docket No: 7: 11 cr630


MARK JONES,

       Defendant.
- - - - - - - - - -- - - - -I
               DEFENDANT'S MOTION FOR A 30-DAY ENLARGEMENT
                OF TIME TO FILE A REPLY TO THE GOVERNMENT'S
                  OPPOSITION TO MOTION FOR COMPASIONATE
                         RELEASE TITLE 18 U.S.C. § 3582

       The Defendant Mark Jones ("Jones") moves this Court for a 30-day extension of time to

file a reply brief to the government's opposition to his motion for compassionate release, Title 18

U.S.C. § 3582, due to his unexpected transfer to the Southern District of New York. In support

of this motion, Jones states as follows:

        1.     Jones has recently filed a Title 18 U.S.C. § 3582 motion for compassionate

release due to the COVID19 pandemic and the Federal Bureau of Prison's inability to contain the

spread. (Dkt. 1465).

       2.      The government has filed a response in opposition. (Dkt. 1469).

        3.     Jones was unexpectedly transfen-ed to MDC Brooklyn where he is in quarantine

and has no access to his legal documents.

        4.     As such, a 30-day extension is requested as it is anticipated that he will be able to

prepare a reply within the next 30-days.

        5.     Jones has not been able to confer with the government due to his incarceration.

        6.      Since Jones is incarcerated and serving sentences, he does not seek delay for any
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improper purpose and the government would not be prejudiced in any way by the requested

extension of time.

       WHEREFORE, Defendant mark Jones prays that this Court grant a 30-day extension of

time to file a reply to the government's opposition to the Title 18 U.S.C. § 3582.

                                                     Respectfully Submitted,



                                                     Mark Jones
                                                     Register Number: 17265-039
                                                     MDC Brooklyn
                                                     P.O. Box 329002
                                                     Brooklyn, NY 11232

                                 CERTIFICATE OF SERVICE

  I HERBY DO CERTIFY that a true and correct copy of this Petitioner's change of address
was mailed to:

       USAO
       1 St. Andrew's Plaza
       New York, NY 10007

       Done this     -+- day of October 2020

                                                     Mark Jones
                                                     Register Number: 17265-039
                                                     MDC Brooklyn
                                                     P .0. Box 329002
                                                     Brooklyn, NY 11232




                                                 2
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


vs.                                               Docket No: 7:1 lcr630


MARK JONES,

        Defendant.
- - - - - - - - - - - - - -I
                            NOTICE OF CHANGE OF ADDRESS

        Defendatn Mark Jones hereby provides notice of change of address as required per Court

Rules. The new mailing address is:

                              Mark Jones
                              Register Number: 17265-039
                              MDC Brooklyn
                              P.O. Box 329002
                              Brooklyn, NY 11232

        Done this   _1_ day of October 2020

                                                   Respectfully Submitted,



                                                   Mark Jones
                                                   Register Number: 17265-039
                                                   MDC Brooklyn
                                                   P .0. Box 329002
                                                   Brooklyn, NY 11232
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      Case 7:11-cr-00630-KMK Document 1477 Filed 10/14/20 Page 4 of 4




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                                               Mark Jones
                                               Register Number: 17265-039
                                               MDC Brooklyn
                                               P.0. Box 329002
                                               Brooklyn, NY 11232
